Exhibit 5
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




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Bingjie Liu



Date: 6/22/2023
                             Beijing City Haidian District People’s Court
                                           Civil Judgment
                                               (2020) Jing 0108 Min Chu No. 8234


Plaintiff:     NetQin Infinity (Beijing) Technology Co., Ltd., business place at Beijing City
Haidian District Northeast Wangxi Road No. 8 Yuan, Building No.4, Floor 3, Room 317.
Legal Representative:           Lilin Guo, Chairman
Litigation Representative:      Shijie Sun, Attorney at Beijing Geping Law Firm
Litigation Representative:      Guijun Qu, Attorney at Beijing Geping Law Firm


Defendant:      Zemin Xu, Male, Date of Birth: February 23, 1964, Mandarin, unemployed,
residing at Beijing City Haidian District, Haidian Main Street No. 15, Building 1, Room 1510.
Litigation Representative:      Li Kang, Attorney at Beijing Zhengxin Law Firm.


The plaintiff NetQin Infinity (Beijing) Technology Co., Ltd (hereinafter NetQin Infinity) and the
defendant Zemin Xu’s dispute in connection with the return of the company license, the case was
filed, according to the law, the Court applied the ordinary procedures openly heard this case.
Plaintiff NetQin Infinity Company’s litigation representatives Shiji Sun, Guijun Qu, Defendant’s
litigation representative Li Kang appeared before the Court. Now this case is closed.
The plaintiff NetQin Infinity requests that: 1. Zemin Xu return the official seal, financial seal,
contract seal, and legal representative seal used during his tenure as the company's legal
representative; 2. Zemin Xu return the original and duplicate business licenses that were lost on
March 28, 2019; 3. Zemin Xu return all accounting books, financial accounting reports, audit
reports, contracts, and company files that should be handed over to the company as of the date of
Zemin Xu’s removal from his position. 4. the costs of this case shall be borne by Zemin Xu. Facts
and Reasons: NetQin Infinity was established on May 15, 2007, as a limited liability company,
and its business scope approved by the industrial and commercial administration department is to
engage in the development, design, and production of software for computer mobile devices and
other business activities in accordance with the law. On September 2, 2015, Zemin Xu was
appointed by the Company's shareholder, Hong Kong Link Motion International Limited
(hereinafter Hong Kong Lin Motion), as the legal representative, chairman and manager of the
Company. In view of Zemin Xu’s various breaches of his duties and are suspected of having
seriously infringed upon the interests of the Company and its shareholders, the Board of Directors
of the Hong Kong Link Motion made a shareholders' instruction on March 19, 2019 to remove
Zemin Xu from his positions as the legal representative, chairman and manager of NetQin
Infinity’s and to required him to hand over the Company's seal, certificates, licenses and
accounting books and records to the newly appointed legal representative, chairman and manager,
Lilin Guo. However, Zemin Xu refused to carry out the shareholders' instructions, refused to hand
over the work and illegally possessed the company’s seals, which seriously the NetQin Infinity’s
interests. After NetQin Infinity changed its business registration based on the instructions from its
shareholders, Zemin Xu, in bad faith, filed a lawsuit on April 26, 2019 against NetQin Infiniaty
and the new legal representative Lilin Guo seeking to restore its old registration as be reappointed
as the legal representative, chairman and manager of the company. Haidian Court ruled against
Zemin Xu. Xu appealed. The appeal court also ruled against him in affirming the trial court’s
decision. The judgment has become effective. In summary, Zemin Xu has lost the legal rights to
hold the seal and business license of NetQin Infinity, so NetQin Infinity sued the court.
The defendant Zemin Xu argued: 1. NetQin Infinity self-identified that the company seal and
license were lost when it was changing business registration with authority, and there is no factual
basis for this case to be prosecuted. When NetQin Infinity changed its business registration, it has
explicitly claimed that its employee negligently lost the original and duplicate business licenses of
NetQin Infinity and inadvertently lost the official seal, and published a statement of loss in the
Beijing Daily, promising to strengthen the management of licenses in the future so that similar
incidents will not happen again. Therefore, NetQin Infinity has already admitted the loss of the
seal and license involved in the case when it was changing its business registration, and there is
no factual basis for the prosecution in this case. 2. Zemin Xu was the former legal representative
of NetQin Infinity and did not directly hold the company's seal, licenses and other documents
during his tenure. NetQin Infinity claiming that according to NetQin Infinity’s articles of
incorporation and amendments, Zemin's Xu’s duties as legal representative include: convening
shareholders' meetings; checking the implementation of shareholders' resolutions and report to
shareholders; execution of relevant documents on behalf of the company; and to exercise special
ruling and disposing power over the ccompany's affairs in case of emergencies such as war or
extraordinary natural disasters, provided that such ruling and disposing of power is in the interest
of the company and return high to shareholders afterwards. Zemin Xu is the chairman of the
company and his specific responsibilities are: convening the shareholders' meeting and reporting
to the shareholders' meeting; implementing the resolutions of the shareholders' meeting; finalizing
the company's business plan and investment plan; formulating the company's annual financial
budget plan and final account plan; formulating the company's profit distribution plan and loss
recovery plan; formulating the company's capital increase or decrease and issuing corporate bonds;
to formulate the plan of merger, demerger, change of corporate form and dissolution of the
company; to decide on the establishment of internal management bodies of the company; to decide
on the hiring or dismissal of the manager of the company and remuneration matters; and to decide
on the hiring or dismissal of the deputy manager and financial officer of the company and their
remuneration matters based on the nomination of the manager. None of the above-mentioned duties
involve being in charge of the company's seals and licenses, which does not indicate that the seals
and documents involved in this action are under the control of Zemin Xu. According to the Seal
Management Policy, it is clear that the seals of group companies and subsidiaries are managed
separately by designated seal management personnel, among which: the official seal, contract seal,
and legal representative's name long are kept by the contract administrator, the special invoice seal
is kept by the tax commissioner of the Finance Department and the financial seal is kept by the
chief financial officer. According to Zemin Xu’s understanding during his employment, the above-
mentioned seal had been kept by Yingli Liu, the manager of fund management of the company's
finance department, and according to Yingli Liu’s statement, Zemin Xu never held the company's
license by himself, and the company's official seal was kept by the corresponding person in charge
strictly in accordance with the content of the seal management policy, and Yingli Liu did not hand
over the above-mentioned company sign to Zemin Xu when she left the company. Regarding the
company’s official seal is currently in the hands of what person, Zemin Xu said do not know. 3.
Zemin Xu left the company in September 2018 and has no knowledge of the use and handover of
the seal after his departure. NetQin Group controls NetQin Infinity through VIE structure, which
means NetQin Infinity is a subsidiary of NetQin Group. On September 11, 2018, Zemin Xu
resigned from the position of director and CEO of the group companies to Wenyong Shi, Chairman
of NetQin Group. On September 14, 2018, the company announced to the public that Zemin Xu
had resigned from the position of director and CEO plant of the company, and Mr. Jia Lian acted
as CEO of the company Zemin Xu transmitted work to Jia Lian and related vice presidents and
department heads on the same day, which has been fully completed. Zemin Xu sent an email to
NetQin Group on the same day, pushing NetQin Group to complete the change of legal
representative, directors and other related positions. From October 2018, NetQin Infinity no longer
sends oh that salary to Zemin Xu. The reason why Zemin Xu sued NetQin Infinity and the Haidian
Bureau of Industry and Commerce after he left his job was that NetQin Infinity forged Zemin Xu's
signature when Guo Lilin forcibly took over for business registration, and the resolution on which
the change was based was invalid. Zemin Xu verified with director Jiang Wu, who said he had no
knowledge of Guo Lilin's takeover. Therefore, Zemin Xu, whose rights infringement led to the
conduct of industrial and commercial change matters may produce and cause results that could not
be estimated, therefore filed an administrative lawsuit and related litigation with the company in
the hope of restoring the rights before they were infringed and conducting the change through the
path of legal and proper means. Zemin Xu submitted Exhibit 4, a statement of circumstances, in
the administrative proceedings, only intending to use this statement of circumstances submitted by
NetQin Infinity in another case as a way to disprove its claim in the business registration that "the
company documents were accidentally lost and now reapplied for it." Although the statement
includes that the license "has been legally held by Zemin Xu "the purpose of the statement was a
proof of purpose, and the evidence was filed on July 23, 2019, a year and a half after the event.
You can't just rely on a sentence from a year and a half ago to determine that Zemin Xu still holds
these licenses. 4. The statement of circumstances and notice of arbitration submitted by Zemin Xu
in the administrative proceedings could not actually prove that Zemin Xu holds the company's seal.
Zemin Xu submitted the above-mentioned evidence in the administrative litigation, hoping to
prove that the company's official seal was held by Zemin Xu, but both the Haidian Court and the
No.1 Intermediate Court explicitly rejected this purpose of proof in their factual findings. The
statement of circumstances and the notice of arbitration can only show that the official seal was
not lost in March 2019, and it cannot be directly presumed that the official seal is in Zemin Xu’s
possession. The current situation of the official seal is not clear to Zemin Xu.
In accordance with the law, the parties submitted evidence around the claims. The Court organized
the parties to exchange and examine the evidence. The evidence that the parties do not object to,
the Court confirmed and recorded on the file. According to the parties' statements and the evidence
examined and confirmed by the Court, the Court finds the facts as follows:
The business registration of the corporate entity shows: NetQin Infinity was founded on May 15,
2007, is a limited liability company (foreign legal person wholly owned), and the legal
representative blade is Lilin Guo. Zemin Xu was registered as the chairman, manager, and legal
representative of NetQin Infinity on September 2, 2015. Subsequently, on April 17, 2019, the
chairman, general manager, and legal representative of NetQin Infinity changed to Lilin Guo. After
investigation, NetQin Infinity’s articles of incorporation do not provide for the safekeeping of the
company's seals and documents, only Article 26 provides that all vouchers, books, and records of
the company are to be properly managed by a designated person. However, the articles of
incorporation do not specify the specific custodian. In the lawsuit, Zemin Xu submitted a copy of
the "Seal Management Policy" of NetQin Group Company, which stated that the seals of the Group
and its subsidiaries were managed separately by designated seal special administrators, among
which the official seal, contract seal and legal representative's name long were kept by the contract
administrator, the invoice seal was kept by the tax commissioner, and the financial seal was kept
by the chief financial officer. NetQin Infinity does not recognize the authenticity of this evidence,
which it claims that it has never seen, there may be relevant policy, but this is the policy for the
company's normal operation, Zemin Xu discharged all employees of the company at the end of
2018, and it is his obligation as the legal representative, chairman and general manager of the
company to complete the custody and handover of the official seal, seal and contract files.
In the litigation, in order to prove that Zemin Xu holds a company license, NetQin Infinity
submitted civil judgment No. (2019) 01 Min Final 10118 rendered by the Beijing No. 1
Intermediate Court in a dispute related to the company sued by Xu Zemin regarding the change of
business registration of the legal representative of NetQin Infinity; The Administrative Judgment
No. (2020) Jing 01 Xing Zhong 425 made by No.1 Intermediate Court on the administrative
litigation brought by Zemin Xu against the administrative change of registration and the
Administrative Judgment No. (2019) Jing 0108Xing Chu No. 812 made by this Court on the
aforesaid administrative case. The factual finding section of Civil Judgment No. 10118 contains
the following content: " Zemin Xu submitted to the Court a factual statement dated April 12, 2019
and a notice of filing from the Labor Dispute Arbitration Commission, and a number of notices of
appearance, claiming that NetQin Infinity and Lilin Guo falsely claimed that NetQin Infinity 's
seal and license were lost during the process of industrial and commercial registration, but in fact
the seal and license were not.” In Case Nos. 812 and 425, Zemin Xu submitted a statement of
circumstances, a summons and a notice of arbitration to prove that the official seal and business
license of NetQin Infinity had never been lost and had always been legally held by Zemin Xu, and
that the Beijing Haidian Bureau of Industry and Commerce had failed in its duty to examine them,
which was a violation of the statutory procedures. NetQin Infinity submitted this statement of
circumstances. After investigation, the aforementioned evidence in the statement of circumstances
does not contain any content about Zemin Xu’s possession of the official seal and business license.
The specific contents of the statement of circumstances are excerpted as follows: during the period
from March 1, 2019 to April 30, 2019, NetQin Infinity was subject to four notices of filing and
court appearance by the BeijingLabor Arbitration Commission, and one summons film by the
Beijing Haidian District People's Court. All of the above cases require a copy of the Business
License with the official seal of NetQin Infinity, a legal representative verification letter, an
authorization letter, and other materials for the court session, and NetQin Infinity’s business license
and official seal were in normal use during this period. The bottom right corner is dated July 29,
2019 and stamped with the company seal of NetQin Infinity. Zemin Xu commented on the
statement of circumstances, arguing that the statement was in another case to prove that the official
seal of NetQin Infinity was not lost, and the content also stated that the seal and documents of
NetQin Infinity were in normal use, and it could not be concluded that the official seal and licenses
were in the hands of Zemin Xu on this basis. In this case, there is no other evidence submitted by
NetQin Infinity to show that the company materials such as the company seal and license and the
company books were held by Zemin Xu.
In the lawsuit, NetQin Infinity confirmed that it had issued a new official seal and business license
after losing the company's official seal and business license, and that what it requested Zemin Xu
to return in this case was the company's official seal and business license before it was lost and
replaced.
In the lawsuit, Zemin Xu claimed that he was responsible for the daily operation and management
of the company at NetQin Infinity, but the company's official seal and documents were managed
by a dedicated person according to the seal management polciy. The company's finance department
is responsible for keeping the financial seal, and account books, and the company's legal
department is responsible for keeping business licenses, contracts, and company files. The
dedicated person in charge of the specific management of the company's finance department is Liu
Yingli, who was responsible for the company's official seal, financial seal, contract seal, and legal
representative's seal before she left the job. The court by exercising its power notified Yingli Liu
to testify in court. Yingli Liu said that NetQin Infinity and Beijing NetQin Tianxia Technology Co.,
Ltd. were both companies under NetQin Mobile Group, and she was the manager of the fund
management department of the two companies before she left her position, responsible for the fund
management of the two companies, and the company's official seal, contract seal and legal
representative seal were managed by the fund management department. And there is a
corresponding management policy, the special financial seal is managed by the chief financial
director management, business license is managed by the legal department. The court showed her
the seal management policy submitted by Zemin Xu, and Yingli Liu said that the detailed
companies of NetQin Group are managing the company seal and license according to this policy.
She left the company on December 31, 2019 and handed over the seal to Li Lei in the Chairman’s
Office when she went through the transmission process. NetQin Infinity claimed that Yingli Liu
has a strong relationship with this case and her testimony should not be admitted in its entirety.
The Court believes that the parties should provide evidence to prove their allegations; if the parties
fail to provide evidence or the evidence is insufficient to prove their claims, the party with the
burden of proof shall bear the adverse consequences. In the dispute of the return of company
documents, the plaintiff shall first prove that the holder of the official seal and documents is the
defendant. The second proves that the defendant was in unlawful possession of the seal and
documents. NetQin Infinity filed this lawsuit to claim that Zemin Xu returned to it the seal, license,
and other company documents, it should first submit evidence to prove that the company seal,
license, and documents are held or controlled by Zemin Xu. In this case, the articles of
incorporation of NetQin Infinity did not clearly specify the person in charge of management of
the official seal and documents in the case, and although it was agreed that the company's books
would be managed by a dedicated person, no clear provisions were given for specific personnel.
The only relevant evidence submitted by NetQin Infinity is the content and purpose of the evidence
submitted by Zemin Xu in the other case, which is to testify to the fact that NetQin Infinity’s
business license and official seal were not lost. In the absence of any other evidence to prove that
Zemin Xu holds the company's official seal and license, the purpose of the evidence alone can only
prove that the original official seal of NetQin Infinity was still in use after Zemin Xu left his
position in NetQin Infinity. It cannot be concluded that Zemin Xu himself is in possession of the
official seal, license and company information that NetQin Infinity is seeking to return in this case.
Accordingly, the Court finds that NetQin Infinity failed to prove that its claimed company seal and
other documents are held by Zemin Xu, and the corresponding adverse legal consequences should
be borne by itself. Therefore, NetQin Infinity’s claims in this case are not supported by the Court
due to insufficient evidence. The other evidence presented by the parties or other opinions
expressed do not affect the Court's decision based on the facts identified in accordance with the
law, and the Court again does not comment on them one by one.
In summary, the Court, in accordance with the provisions of Article 60(1) of the Civil Procedure
Law of the People's Republic of China and Article 90 of the Interpretation of the Supreme People's
Court on the Application of the Civil Procedure Law of the People's Republic of China, ruled as
follows:
The plaintiff, NetQin Infinity’s claims are dismissed in their entirety.
The case acceptance fee of 70 yuan, which has been paid in advance by the plaintiff NetQin Infinity,
shall be borne by itself.
If you do not accept this judgment, you may appeal to the Beijing No. 1 Intermediate People's
Court within fifteen days from the date of service of the judgment by submitting a notice of appeal
and a copy of the notice of appeal to this Court and paying the appeal case acceptance fee in
accordance with the amount of the appeal request for the part of the judgment. If the appeal fee is
not paid within seven days after the expiration of the appeal period, the appeal will be
automatically withdrawn.


                                               Chief Judge: Bin Han
                                               People's Jurors:       Youcai Lu
                                               People's Jurors:       Mingquan Liang


                                               August 12, 2021
Clerk: Yuting Song
[SEAL]
